       Case 1:13-cv-01156-GBW-KBM Document 1 Filed 12/05/13 Page 1 of 7




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW MEXICO
                                ALBUQUERQUE DIVISION

THOMAS E. PEREZ, Secretary of Labor,
United States Department of Labor                      :
                                                       :
               Plaintiff,                              :
                                                       :
v.                                                     : Civil Action No. 13-1156
                                                       :
ST. JAMES TEAROOM, INC.,                               :
MARY ALICE HIGBIE AND                                  :
DANIEL HIGBIE, INDIVIDUALLY                            :
                                                       :
            Defendants.                                :
_______________________________________                :
                              COMPLAINT

       Plaintiff, Thomas E. Perez, Secretary of Labor, United States Department of Labor, brings

this action to enjoin the defendants, St. James Tearoom, Inc., Mary Alice Higbie, and Daniel Higbie

from violating the provisions of Sections 6, 7, 11(c), 15(a)(2), and 15(a)(5) of the Fair Labor

Standards Act of 1938, as amended, 29 U.S.C. Section 201, et seq., hereinafter referred to as the Act,

and to restrain defendants from withholding payment of minimum wage and overtime compensation

found by the Court to be due employees under the Act, and an equal amount as liquidated damages

due to the employees who are named in the attached Exhibit A.

                                                  I.

       This court has jurisdiction over this action pursuant to Sections 16 and 17 of the Act, 29

U.S.C. Sections 216 and 217, and 28 U.S.C. Sections 1331 and 1345.

                                                 II.

       1.      Defendant, St. James Tearoom, Inc. (“St. James”), is now, and at all times

hereinafter mentioned has been, a New Mexico corporation with a place of business and doing

business at 320 Osuna NE, Suite D, Albuquerque, New Mexico, within the jurisdiction of this

                                                  1
         Case 1:13-cv-01156-GBW-KBM Document 1 Filed 12/05/13 Page 2 of 7




Court.

         2.     Defendant Mary Alice Higbie has a place of business and is doing business in

Albuquerque, New Mexico, within the jurisdiction of this Court, where Mary Alice Higbie, is and at

all times hereinafter mentioned was, an owner of defendant St. James and actively manages,

supervises and directs the business affairs and operations of defendant St James. Ms. Higbie acts and

has acted, directly and indirectly, in the interest of defendant St. James in relation to its employees

and is an employer of these employees within the meaning of the Act.

         3.     Defendant Daniel Higbie has a place of business and is doing business in

Albuquerque, New Mexico, within the jurisdiction of this Court, where Daniel Higbie, is and at all

times hereinafter mentioned was, an owner and manager of defendant St. James and actively

manages, supervises and directs the business affairs and operations of defendant St James. Mr.

Higbie acts and has acted, directly and indirectly, in the interest of defendant St. James in relation to

its employees and is an employer of these employees within the meaning of the Act.


                                                III.
         At all times hereinafter mentioned, Defendants have been an enterprise within the

meaning of Section 3(r) of the Act, 29 U.S.C. Section 203(r), in that Defendants have been,

through unified operation or common control, engaged in the performance of related activities.

Specifically, Defendants operate a restaurant specializing in the sale of tea, fine, china and

accessories.


                                                  IV.


         At all times hereinafter mentioned, St. James has been an enterprise engaged in commerce or

in the production of goods for commerce within the meaning of Section 3(s)(1)(A) of the Act, 29

U.S.C. §203(s)(1)(A), in that it has employees engaged in commerce or in the production of goods

                                                    2
       Case 1:13-cv-01156-GBW-KBM Document 1 Filed 12/05/13 Page 3 of 7



for commerce within the meaning of Section 203(s)(1)(A), in that Defendants have employees

engaged in commerce or the production of goods for commerce, or employees handling, selling, or

otherwise working on goods or materials that have been moved in or produced for commerce by any

person and in that it has an annual gross volume of sales made or business done of not less than

$500,000 (exclusive of excise taxes at the retail level that are separately stated). Among other

interstate activity, Defendants order merchandise, including but not limited to teas and fine china

from California, England and other out-of-state locations.

                                                   V.

        During the period since December 5, 2011, Defendants have violated and are violating the

provisions of Sections 6 and 15(a)(2) of the Act, 29 U.S.C. §§206 and 215(a)(2), by paying

employees employed in an enterprise engaged in commerce or in the production of goods for

commerce within the meaning of the Act at rates less than the applicable minimum hourly rates

required by Section 6 of the Act. Defendants required that its employees, including dishwashers,

servers and shift leaders join a mandatory tip pool. Dishwashers are ineligible for tip pools, so the

Section 3(m), 29 U.S.C. Section 203(m), tip credit does not apply rendering the tip credit used from

the tip pool for all employees invalid. Additionally, in workweeks in which employees worked

overtime, the Defendants failed to pay said employees the highest applicable minimum wage, which

was the state of New Mexico minimum wage.

                                                  VI.

        During the period since December 5, 2011, Defendants have violated and are violating the

provisions of Sections 7 and 15(a)(2) of the Act, 29 U.S.C. §§207 and 215(a)(2), by employing

employees in an enterprise engaged in commerce or in the production of goods for commerce within

the meaning of the Act for workweeks longer than forty hours without compensating such employees

for their employment in excess of forty hours per week at rates not less than one and one-half times

                                                   3
       Case 1:13-cv-01156-GBW-KBM Document 1 Filed 12/05/13 Page 4 of 7



the regular rates at which they were employed. Defendants paid time and one half of the cash wage

of $2.13, rather than time and one half of the applicable minimum wage.

                                                  VII.

        As a result of the violations of the Act, minimum wages and overtime compensation has been

unlawfully withheld by the Defendants from their employees.

                                                 VIII.

        During the period since December 5, 2011, Defendants violated the provisions of Sections

11(c) and 15(a)(5) of the Act, 29 U.S.C. §§211(c) and 215(a)(5), in that Defendants have failed to

make, keep and preserve adequate and accurate records of their employees and of the wages, hours,

and other conditions and practices of employment maintained by them as prescribed by the

regulations of the Administrator issued pursuant to Sections 11(c) and 15(a)(5) of the Act, 29 U.S.C.

§§211(c) and 215(a)(5), and found in Title 29, Chapter VI, Code of Federal Regulations, Part 516 in

that their records failed to show, among other things, the hours worked each day and the total hours

worked each week by many of their employees. Defendants maintained semi-monthly payroll

summaries that did not accurately reflect hours worked each workday and total hours worked each

workweek by their employees.


                                                  IX.

        WHEREFORE, cause having been shown, Plaintiff prays for judgment against

Defendants St. James, Mary Alice Higbie and Daniel Higbie as follows:


        1.      For an Order pursuant to Section 17 of the Act permanently enjoining and restraining

Defendants, their officers, agents, servants, employees, and those persons in active concert or

participation with defendants, from violating Sections 6, 7, 11(c), 15(a)(2) and 15(a)(5) of the Act;

and

                                                   4
       Case 1:13-cv-01156-GBW-KBM Document 1 Filed 12/05/13 Page 5 of 7



       2.      For an Order pursuant to Section 16(c) of the Act finding Defendants liable for

unpaid minimum wages and overtime compensation due to Defendants’ employees and for liquidated

damages equal in amount to the unpaid compensation found due Defendants’ employees listed in the

attached Exhibit A (additional liquidated damages may be owed to certain employees presently

unknown to plaintiff for the period covered by this complaint); or in the event liquidated damages are

not awarded; and

       3.      For an Order pursuant to Section 17 enjoining and restraining Defendants

from withholding payment of unpaid minimum wages and overtime found due Defendants’

employees and pre-judgment interest computed at the underpayment rate established by the

Secretary of Treasury pursuant to 26 U.S.C. §6621; and

        4.     For an Order awarding plaintiff the costs of this action; and

        5.     For an Order granting such other and further relief as may be necessary and

appropriate.




                                                  5
      Case 1:13-cv-01156-GBW-KBM Document 1 Filed 12/05/13 Page 6 of 7




                                         Respectfully Submitted,


                                         M. PATRICIA SMITH
                                         Solicitor of Labor

                                         JAMES E. CULP
                                         Regional Solicitor
LOCAL COUNSEL:
                                         MARGARET TERRY CRANFORD
                                         Counsel for Wage and Hour

                                         BY:
MICHAEL HOSES                            /s/ Colleen B. Nabhan
Assistant United States Attorney         COLLEEN B. NABHAN
                                         Attorney in charge,
                                         TX Bar No. 14769500

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RSOL No. 0640-13-01223                   Attorneys for Plaintiff.




                                     6
      Case 1:13-cv-01156-GBW-KBM Document 1 Filed 12/05/13 Page 7 of 7




                                  Exhibit A

Alarcon, Veronica
Anderson, Alden
Ashcraft, Laura
Avery, Pearl
Beasley, Gina
Cave, Janisse
Chavez, Jordan
Cox, Krystal
Gassaway, Olivia
Gassaway, Victoria
Gillespie, Annette
Goodman, Nicole
Hall, McKenzie
Hammer, Micha
Heintzelman, Jessica
Henderson, Tina
Hoffman, Amber
Hope, Heather
Hughes, Hannah
Janson, Heather
Lowery, Morgan
McMath, Kate
Medina, Manessa
Morrison, Lisa
Mouchet, Elise
Perez, Austin
Perez, Catalina
Pettitt, Jacqueli
Prigge, Bethany
Raines, Sonya
Scott, Ondine
Sedillo, Stephanie
Simmons, Carissa
Szucs, Kathryn
Terry, Carl Eric
Tipton, Ben
Tipton, Kate
Ubiera, John
White, Nicole
Wortman, Emily
Wortman, Sara
Yu, Elizabeth


                                     7
